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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                          )
BEAN LLC d/b/a FUSION GPS                  )
             1700 Connecticut Ave., NW     )
             Suite 400                     )
             Washington, DC 20009,        )
                                          )
                          Plaintiff,      )
                                          )
      v.                                  )   Case No. 1:17-cv-02187-RJL
                                          )
DEFENDANT BANK,                           )
                                          )
                          Defendant,      )
                                          )
                                          )
PERMANENT SELECT COMMITTEE ON             )
INTELLIGENCE OF THE U.S. HOUSE OF         )
REPRESENTATIVES,                          )
                          Intervenor.     )
__________________________________________)

   CONSOLIDATED REPLY IN SUPPORT OF MOTION TO STRIKE PLAINTIFF’S
      NOTICE OF ADDITIONAL RECORD EVIDENCE AND OPPOSITION TO
     PLAINTIFF’S CROSS-MOTION FOR LEAVE TO FILE THE NOTICE AND
                    ADDITIONAL RECORD EVIDENCE

       On December 12, 2017, Plaintiff filed a Notice of Additional Record Evidence (ECF No.

45) (“Notice”) in violation of Local Rule 65.1(c). In response to the Motion to Strike filed by the

Permanent Select Committee on Intelligence (“Committee”) (ECF No. 48), Plaintiff immediately

filed another Notice in violation of Local Rule 65.1(c) (ECF No. 49), and several days later filed

an Opposition to the Committee’s Motion to Strike as well as an untimely Cross-Motion for

Leave to file both defective Notices (ECF Nos. 51, 52) (“Pl. Opp.”). For the reasons explained




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in the Committee’s Motion to Strike, and below, the irrelevant and improper “evidence” should

be stricken. 1

        Plaintiff’s Notices consist of declarations – i.e., equivalent to affidavits in accordance

with 28 U.S.C. § 1746 – with accompanying press articles. These unsworn affidavits and

exhibits are plainly governed by Local Rule 65 and should be stricken for failure to seek leave of

the court. See Econ. Research Servs. v. Resolution Econ., LLC, 140 F. Supp. 3d 47, 49 n.2

(D.D.C. 2015) (Leon, J.) (striking reply brief and declarations and accompanying exhibits for

failure to comply with LCvR 65.1(c)) and Docket Entry No. 21, id., No. 1:15-cv-01282-RJL

(reflecting clerk’s notation that ECF No. 21 filings were stricken); John Doe Co. v. Consumer

Fin. Prot. Bureau, 235 F. Supp. 3d 194, 207 n.4 (D.D.C. 2017) (holding that court would not

consider Wall Street Journal article and supplemental affidavits filed in violation of Local Rule

65.1(c)).

        Plaintiff’s attempt to cure its defective filings through an untimely Cross-Motion for

Leave should also be denied as violative of Federal Rule of Evidence 201. Plaintiff asserts that

the proffered material “demonstrates that HPSCI’s subpoena to Defendant Bank is part of a

punitive effort … to retaliate against Fusion,” Notice 3, and asks this Court to take judicial notice

of press reports for the asserted proposition that “the Committee is coordinating with the

President … to misdirect attention to Fusion … [and] punish and discredit Fusion … due to

[Fusion’s] perceived role” in Russian interference with the 2016 election. Pl. Opp. 3. As an




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  Plaintiff’s Opposition fails to confront the Committee’s arguments regarding the irrelevance of
the cited articles, the inapplicability of the precedents cited by Plaintiff, and the impropriety of
Plaintiff’s baseless attempts to impugn the motives of the Committee, so the Committee will not
reiterate those arguments here.


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initial matter, Plaintiff’s proffered “evidence” fails to support the fantastical theory of a vast

multi-Branch government conspiracy against Plaintiff. It is undisputed that Plaintiff hired a

private investigator who appears to have used Russian intelligence sources to uncover negative

information about a Presidential candidate in the 2016 election. It is also undisputed that

Plaintiff seeds its opposition research to friendly media outlets, including the research here,

which was based on information from these Russian intelligence sources. Therefore, the

Committee’s perception of Plaintiff’s role in Russian interference with the 2016 election is

unquestionably well-founded, and its interest in Plaintiff’s activities is unquestionably legitimate.

Plaintiff’s actions fit squarely within the parameters of the Committee’s investigation, and there

is no legitimate basis for Plaintiff to continue to frustrate the Committee’s important

investigation. That Plaintiff is noticeably discomfited that its actions have raised the attention of

Congressional investigators (and the American people) is a problem of Plaintiff’s own making. 2

       Plaintiff’s breezy assertion that this “publicly available information … is judicially

noticeable,” Pl. Opp. 2, bears no resemblance to Rule 201’s requirement that a court may

judicially notice only a fact “that is not subject to reasonable dispute.” Fed. R. Evid. 201(b).

While courts may take judicial notice of the existence of press accounts, if the mere fact of

publication is relevant to an issue before the court, courts cannot take judicial notice of

newspaper articles for the truth of the assertions in those articles, as Plaintiff would have the




2
  Plaintiff claims, for example, that the Committee is engaged in a conspiracy against it by
issuing a subpoena to a bank. Pl. Opp. 4, n.2. Of course, where an entity (such as Plaintiff) fails
to voluntarily produce financial records, a Congressional committee – or any competent
government investigator – will attempt to secure those records from the third party in possession
of them. That the Committee is able to obtain financial records from other persons and entities
involved in its investigation without resort to compulsory process to third parties only highlights
Plaintiff’s intransigence, not any purported ulterior motives.

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Court do here. Compare Competitive Enterp. Inst. v. EPA, 67 F. Supp. 3d 23, 36 n.7 (D.D.C.

2014) (holding that court could not consider articles submitted pursuant to a “Notice of

Subsequent Factual Development” because “the underlying truth of the cited articles is not

judicially noticeable material” under Rule 201(b)) with Sandza v. Barclays Bank PLC, 151

F. Supp. 3d 94, 113 (D.D.C. 2015) (concluding that court may take judicial notice of

the existence of news articles but recognizing that court may not take judicial notice of the

truth of the articles’ assertions); see also Washington Post v. Robinson, 935 F.2d 282, 291-92

(D.C. Cir. 1991) (holding that, in assessing whether harm would result from disclosure of

cooperating witness’s role, court could take judicial notice of previously published press articles

disclosing the witness’s role). Here, Plaintiff proffers its articles for the proof of the matters

asserted, but Plaintiff cannot cure its violation of Local Rule 65 through a violation of Federal

Rule of Evidence 201.

       Finally, Plaintiff’s continued attempts to delay and impede the Committee’s legitimate

investigation should be rejected. As explained in the Committee’s Motion to Strike, Defendant

Bank is obligated to




                                      In addition, if the Bank were to fail to produce the

subpoenaed records as expeditiously as possible following a ruling in the Committee’s favor, it

would be in default of the subpoena. Plaintiff’s threat that it will seek a “stay” of any adverse

ruling by this Court would have no impact on the Bank’s obligations under the subpoena,


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          .

                                        CONCLUSION

       For the reasons explained in the Committee’s Motion to Strike, and for all the other

reasons above, the Court should strike Plaintiff’s Notice and deny Plaintiff’s Cross-Motion.


                                             Respectfully submitted,

                                             /s/ Thomas G. Hungar
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December 22, 2017                            on Intelligence of the U.S. House of Representatives




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                                CERTIFICATE OF SERVICE

       I certify that on December 22, 2017, I caused the foregoing document to be filed through

the court’s CM/ECF system, which I understand caused it to be served on all registered parties.



                                                    /s/ Thomas G. Hungar
                                                    Thomas G. Hungar




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